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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  CONRAD SMITH, et al.,

                                                      Civil Action No. 1:21-cv-2265-APM
                         Plaintiffs,

                    v.

  DONALD J. TRUMP, et al.,

                         Defendants.


                                       [PROPOSED] ORDER

       Upon consideration of the Motion for Admission of Attorney Esther D. Ness to Appear pro

hac vice for Plaintiffs in this matter and Local Civil Rule 83.2(c), it is hereby ORDERED that Esther

D. Ness be admitted pro hac vice to this Court for the purpose of representing Plaintiffs in the above-

captioned matter.

       SO ORDERED.

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                                                             UNITED STATES DISTRICT JUDGE
